OAO 247 (NC/W 03/08) Order Regarding Motion for Sentence Reduction


                                    UNITED STATES DISTRICT COURT
                                                                     for the
                                                      Western District of North Carolina

                   United States of America                            )
                              v.                                       )
JORGE HUGO ORTIZ-ROJAS, a/k/a Andres Garcia Torres &                   )   Case No: 5:02CR34-04
                 Andy Garcia                                           )   USM No: 19125-058
Date of Previous Judgment: November 3, 2003                            )   James S. Weidner, Jr.
(Use Date of Last Amended Judgment if Applicable)                      )   Defendant’s Attorney

                  Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED.     GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of               months is reduced to                            .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    35                Amended Offense Level:                                   33
Criminal History Category: III               Criminal History Category:                               III
                                  Ct. 1                                                                           Ct. 1
Previous Guideline Range: 210  to 262 months Amended Guideline Range:                                 168    to 210       months

II. SENTENCE RELATIVE TO AM ENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
  of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
  amended guideline range.
 Other (explain):  No reduction as Defendant was originally sentenced at the statutory minimum pursuant to USSG §
                    5K1.1. Thus, a reduction in his guideline range would not have resulted in a lesser sentence, as
                    there was no waiver under 3553(e) filed at sentencing.



III. ADDITIONAL COMMENTS

**The defendant is also serving a consecutive sentence in Count Five on a conviction of 18 U.S.C. § 924(c).



Except as provided above, all provisions of the judgment dated November 3, 2003 shall remain in effect.
IT IS SO ORDERED.

Order Date:        December 18, 2009



Effective Date:
                     (if different from order date)


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